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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §    CRIMINAL NO. H-06-422
                                              §
                                              §
HUGO BARRERA-CAVAZOS                          §

                                         ORDER

       Defendant Hugo Barrera-Cavazos has filed an unopposed motion for continuance.

(Docket Entry No. 64). The court finds that the interests of justice are served by granting the

continuance and that those interests outweigh the interests of the public and the defendant

in a speedy trial. The motion is granted. The rearraignment hearing is reset to May 26, 2009,

at 10:30 a.m.


                SIGNED on April 22, 2009, at Houston, Texas.


                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
